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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

ARKANSAS TEACHER RETIREMENT SYSTEM,
on behalf of itself and all others
 similarly situated,

                           Plaintiff,
                                                     No. 11-cv-10230-MLW
vs.

STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/

ARNOLD HENRIQUEZ, MICHAEL T. COHN,
WILLIAM R. TAYLOR, RICHARD A.
SUTHERLAND, and those similarly situated,

                           Plaintiffs,
                                                     No. 11-cv-12049-MLW
vs.

STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/

THE ANDOVER COMPANIES EMPLOYEE
SAVINGS AND PROFIT SHARING PLAN, on
Behalf of itself, and JAMES PEHOUSHEK-
STANGELAND and all others similarly situated,

                           Plaintiffs,
                                                     No. 12-cv-11698-MLW
vs.

STATE STREET BANK AND TRUST COMPANY,

                        Defendant.
____________________________________________/


      SPECIAL MASTER’S SUBMISSION OF THE FINAL REDACTED EXHIBITS
             TO THE MASTER’S REPORT & RECOMMENDATIONS
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              As part of the post-Report proceedings, the Court ordered counsel for the plaintiff class

and State Street (collectively “the Law Firms”) to propose redactions to the Special Master’s

Report & Recommendations, Executive Summary, and exhibits filed therewith. Dkt. # 237, pp.

2-3. The Court directed the Special Master to respond to promptly those exhibits.1 Id., p. 3.

              On June 22, 2018, the Court held a closed hearing at which it heard argument from the

Law Firms and the Special Master as to their respective positions on various categories of

redactions proposed to the Master’s Report & Recommendations and Executive Summary.

Several of these categories applied to the proposed redactions to the exhibits, as well. On June

28, 2018, the Court issued an Order ruling on each category of proposed redactions and

providing the parties guidance for the remaining redactions. Dkt. # 356. The Court further

directed the parties to confer and, to the extent that redactions were agreed upon, to file redacted

versions of the Report exhibits by July 10, 2018.2 Id. That same day, the Court made the

Master’s Report & Recommendations and Executive Summary, in redacted form, available to the

public.

              On July 5, 2018, State Street and the Special Master, with the assent of all parties, jointly

moved for a brief extension, until July 20, 2018, to complete the meet and confer process for the


                                                            
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  The parties were ordered to confer to attempt to resolve and narrow redaction issues during the review process. Id.
The May 31, 2018 Order originally directed the Master to respond to the proposed redactions to the Report exhibits
by June 18, 2018. Dkt. # 237. Due to the large volume of individual redactions proposed by the Law Firms, on June
13, 2018, the Special Master moved for additional time to submit responses. Dkt. # 296. The Court issued a sealed
Order on June 14, 2018, allowing that request in part and denying it in part. Dkt. # 299. On June 21 and June 22,
2018, the Special Master filed and served responses to a portion, but not all, of the redactions proposed by the Law
Firms.
2
  For clarification as to the Master’s role, the Special Master filed a motion seeking the Court’s guidance on the best
way to proceed after the Court’s issuance of its June 28, 2018 Order. Dkt. # 366. In response to that filing, the Court
ordered the Special Master to continue working collaboratively with the Law Firms to resolve any remaining areas
of disagreement over proposed redactions to the Report exhibits. Dkt. # 372.


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remaining redactions. Dkt. # 380. The Court allowed the requested extension. Thereafter, the

parties worked diligently and collaboratively to reach a consensus on the redacted versions of the

exhibits.

              The Special Master has sent the Court a complete set of exhibits to his Report &

Recommendations, containing the appropriate redactions.3

Dated: July 20, 2018                                                   Respectfully submitted,

                                                                       SPECIAL MASTER HONORABLE
                                                                       GERALD E. ROSEN (RETIRED),

                                                                       By his attorneys,


                                                                         /s/ William F. Sinnott
                                                                       William F. Sinnott (BBO #547423)
                                                                       Elizabeth J. McEvoy (BBO #683191)
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                                                               CERTIFICATE OF SERVICE

       I hereby certify that this Notice of Appearance was filed electronically on July 20, 2018
and thereby delivered by electronic means to all registered participants as identified on the
Notice of Electronic Filing (“NEF”). Paper copies were sent to any person identified in the NEF
as a non-registered participant.


                                                                        /s/ William F. Sinnott
                                                                       William F. Sinnott




                                                            
3
  The Special Master has provided the Court with two CDs: (1) a disc containing a complete set of exhibits to the
Master’s Report, a large number of which contain partial or complete redactions; and (2) a disc containing courtesy
copies of the exhibits in substantially unredacted form, which depicts which portions of the various exhibits were
redacted in the publicly-filed versions.

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